        Case 2:09-cr-00121-JAM Document 157 Filed 02/22/19 Page 1 of 2


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 8                        UNITED STATES DISTRICT COURT
 9                       EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,            )   Case No. 2:09-CR-00121-JAM
                                          )
12                      Plaintiff,        )
                                          )
13        v.                              )
                                          )
14   CHRISTOPHER JARED WARREN, and        )   RELATED CASE ORDER
     SCOTT EDWARD CAVELL,                 )
15                                        )
                       Defendants.        )
16   UNITED STATES OF AMERICA,            )
                                          )
17                      Plaintiff,        )
                                          )   Case No. 2:19-CR-00033-TLN
18        v.                              )
                                          )
19   SCOTT CAVELL,                        )
                                          )
20                      Defendant.        )
                                          )
21

22        Examination of the above-entitled actions reveals that these

23   actions are related within the meaning of Local Rule 123 (E.D. Cal.

24   2005).    Accordingly, the assignment of the matters to the same

25   judge is likely to affect a substantial savings of judicial effort

26   and is also likely to be convenient for the parties.

27        The parties should be aware that relating the cases under

28   Local Rule 123 merely has the result that these actions are


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        Case 2:09-cr-00121-JAM Document 157 Filed 02/22/19 Page 2 of 2


 1   assigned to the same judge; no consolidation of the actions is

 2   effected.

 3        IT IS THEREFORE ORDERED that the action denominated 2:19-CR-

 4   00033-TLN be reassigned to Judge John A. Mendez for all further

 5   proceedings, and any dates currently set in this reassigned case

 6   only are hereby VACATED.     Henceforth, the caption on documents

 7   filed in the reassigned cases shall be shown as 2:19-CR-00033-JAM.

 8        IT IS FURTHER ORDERED that the Clerk of the Court make

 9   appropriate adjustment in the assignment of criminal cases to

10   compensate for this reassignment.

11        IT IS SO ORDERED.

12   Dated:   February 22, 2019.

13   DATED:   2/22/2019
                                         /s/ John A. Mendez_______________
14                                       United States District Court Judge
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